                                    UNITED STATES COURT OF APPEALS FOR THE SECOND CIRCUIT

                  Thurgood Marshall U.S. Courthouse 40 Foley Square, New York, NY 10007 Telephone: 212-857-8500

                                                    MOTION INFORMATION STATEMENT
                  23-910
Docket Number(s): ________________________________________                _______________Caption [use short title]_____________________
            RECONSIDERATION OF THE DENIAL OF LEAVE
Motion for: ______________________________________________
TO FILE REPLY IN SUPPORT OF MANDAMUS
________________________________________________________

________________________________________________________

Set forth below precise, complete statement of relief sought:
Petitioner moves the Court to reconsider its denial
________________________________________________________
                                                                          In re Google LLC
of leave to file reply in support of Petitioner's
________________________________________________________
Writ of Mandamus.
________________________________________________________

________________________________________________________

________________________________________________________

________________________________________________________
             Google LLC
MOVING PARTY:_______________________________________
                                                                                           Texas, Idaho, Indiana, Louisiana, Mississippi, North Dakota, South Carolina, South Dakota
                                                     OPPOSING PARTY:____________________________________________

          ___Plaintiff                ___Defendant

          ✔
          ___Appellant/Petitioner    ___Appellee/Respondent

                Neal Kumar Katyal
MOVING ATTORNEY:___________________________________                                 Ashley Keller
                                                          OPPOSING ATTORNEY:________________________________________
                        [name of attorney, with firm, address, phone number and e-mail]
Hogan Lovells US LLP
________________________________________________________ Keller Postman LLC
                                                         _______________________________________________________________
555 Thirteenth Street, N.W. Washington, DC 20004
________________________________________________________ 111 Congress Ave, Suite 500, Austin TX 78701
                                                         _______________________________________________________________
(202) 637-5600 neal.katyal@hoganlovells.com
________________________________________________________ (501) 690-0990; ack@kellerpostman.com
                                                         _______________________________________________________________
                                    Karen K. Caldwell, Judicial Panel on Multidistrict Litigation
Court- Judge/ Agency appealed from: _________________________________________________________________________________________

Please check appropriate boxes:                                         FOR EMERGENCY MOTIONS, MOTIONS FOR STAYS AND
                                                                        INJUCTIONS PENDING APPEAL:
Has movant notified opposing counsel (required by Local Rule 27.1):     Has this request for relief been made below?          ___Yes ___No
         ✔
        ___Yes     ___No (explain):__________________________           Has this relief been previously sought in this court? ___Yes ___No
        _______________________________________________                 Requested return date and explanation of emergency: ________________
                                                                        _____________________________________________________________
Opposing counsel’s position on motion:
                                                                        _____________________________________________________________
                          ✔
         ___Unopposed ___Opposed       ___Don’t Know
                                                                        _____________________________________________________________
Does opposing counsel intend to file a response:
                                                                        _____________________________________________________________
                             ✔
         ___Yes ___No ___Don’t          Know


Is oral argument on motion requested?                  ✔ (requests for oral argument will not necessarily be granted)
                                               ___Yes ___No

Has argument date of appeal been set?                   ✔
                                               ___ Yes ___No If yes, enter date:_______________________________________________________

Signature of Moving Attorney:
/s/ Neal Kumar Katyal
_________________________________      July 18, 2023 Service by: ___CM/ECF
                                  Date:__________________         ✔        ___Other [Attach proof of service]




Form T-1080 (rev.12-13)
             IN THE
             IN THE UNITED
                    UNITED STATES
                           STATES COURT OF APPEALS
                                  COURT OF APPEALS
                     FOR THE
                     FOR THE SECOND CIRCUIT
                             SECOND CIRCUIT



In re
In re Google
      Google LLC,
             LLC,
                                                No. 23-910
                                                No. 23-910
      Petitioner
      Petitioner




GOOGLE
GOOGLE LLC’S
       LLC'S MOTION
             MOTION FOR
                     FOR RECONSIDERATION  OF THE
                         RECONSIDERATION OF      DENIAL
                                             THE DENIAL
    OF LEAVE
    OF LEAVE TO
             TO FILE
                FILE REPLY IN SUPPORT
                     REPLY IN         OF MANDAMUS
                              SUPPORT OF MANDAMUS




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                                       Neal  Kumar Katyal
                                                     Katyal
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                      Counsel for Petitioner
                      Counselfor  Petitioner Google LLC
                                             Google LLC
      Google respectfully moves
      Google respectfully moves for
                                for reconsideration of the
                                    reconsideration of the Court's
                                                           Court’s denial
                                                                   denial of
                                                                          of leave
                                                                             leave

to file
to file aa reply
           reply in
                 in support
                    support of mandamus. This
                            of mandamus.      Court routinely
                                         This Court routinely permits
                                                              permits parties
                                                                      parties to
                                                                              to file
                                                                                 file

replies in
replies in support
           support of mandamus. A
                   of mandamus. A reply
                                  reply is particularly warranted
                                        is particularly warranted here
                                                                  here because
                                                                       because the
                                                                               the

State
State Plaintiffs’
      Plaintiffs' response
                  response in
                           in opposition to mandamus,
                              opposition to mandamus, filed
                                                      filed late last night,
                                                            late last night, defends
                                                                             defends

the JPML’s
the        ruling on
    JPML's ruling    grounds that
                  on grounds that differ
                                  differ from those the
                                         from those the JPML
                                                        JPML offered—and this
                                                             offered—and this

Court should have
Court should have the
                  the benefit
                      benefit of
                              of Google’s
                                 Google's response to those
                                          response to those arguments
                                                            arguments in
                                                                      in ruling
                                                                         ruling on
                                                                                on

the mandamus
the mandamus petition.
             petition. The
                       The State
                           State Plaintiffs’
                                 Plaintiffs' opposition
                                             opposition also
                                                        also contains misstatements
                                                             contains misstatements

of
of fact and law
   fact and     in defending
            law in defending the
                             the JPML’s reliance on
                                 JPML's reliance    two old
                                                 on two old Supreme Court cases,
                                                            Supreme Court cases,

suggesting that
suggesting that those
                those cases are akin
                      cases are akin to
                                     to the
                                        the situation
                                            situation here
                                                      here when
                                                           when they
                                                                they are
                                                                     are not.
                                                                         not.

      Allowing Google
      Allowing        to address
               Google to address the
                                 the State
                                     State Plaintiffs’
                                           Plaintiffs' additional defenses of
                                                       additional defenses    the
                                                                           of the

JMPL’s
JMPL's ruling and their
       ruling and their misstatements,
                        misstatements, in
                                       in aa short
                                             short reply brief, will
                                                   reply brief, will assist this Court
                                                                     assist this Court

in its
in its disposition
       disposition of
                   of Google’s mandamus petition.
                      Google's mandamus petition. Should the Court
                                                  Should the Court agree that aa
                                                                   agree that

reply is
reply is warranted,
         warranted, Google
                    Google is prepared to
                           is prepared to file
                                          file aa reply
                                                  reply by
                                                        by July 24, 2023,
                                                           July 24, 2023, or any other
                                                                          or any other

date the
date the Court would prefer.
         Court would prefer.

      Counsel
      Counsel for
              for State Plaintiffs have
                  State Plaintiffs have informed
                                        informed Google that they
                                                 Google that they oppose this
                                                                  oppose this

motion.
motion.

                                   ARGUMENT
                                   ARGUMENT

      1. Google
      1.        respectfully asks
         Google respectfully asks that
                                  that the
                                       the Court reconsider its
                                           Court reconsider     denial of
                                                            its denial of leave to file
                                                                          leave to file

aa reply
   reply brief.
         brief. This
                This Court
                     Court frequently permits mandamus
                           frequently permits mandamus replies. See, e.g.,
                                                       replies. See,       In Re:
                                                                     e.g., In Re:

United States of
United States of America,
                 America, No.
                          No. 18-3430,
                              18-3430, Dkt.
                                       Dkt. 67 (2d Cir.
                                            67 (2d Cir. Dec. 26, 2018);
                                                        Dec. 26, 2018); In
                                                                        In Re:
                                                                           Re:



                                          1
                                          1
United States Dep't
United States Dep’t of
                    of Commerce, No. 18-2856,
                       Commerce, No. 18-2856, Dkt.
                                              Dkt. 43
                                                   43 (2d
                                                      (2d Cir.
                                                          Cir. Oct.
                                                               Oct. 5, 2018); In
                                                                    5, 2018); In

Re: The
Re: The City of New
        City of New York, No. 10-237,
                    York, No. 10-237, Dkt.
                                      Dkt. 61 (2d Cir.
                                           61 (2d      Apr. 15,
                                                  Cir. Apr. 15, 2010).
                                                                2010). This
                                                                       This Court’s
                                                                            Court's

sister circuits
sister          do the
       circuits do the same.
                       same. See,
                             See, e.g.,
                                  e.g., In
                                        In Re:
                                           Re: Stingray
                                               Stingray IP
                                                        IP Sols.
                                                           Sols. LLC,
                                                                 LLC, No.
                                                                      No. 23-102,
                                                                          23-102, Dkt.
                                                                                  Dkt.

55 (Fed.
   (Fed. Cir. Nov. 9,
         Cir. Nov.    2022); In
                   9, 2022); In re: Klamath Irrigation
                                re: Klamath Irrigation Dist.
                                                       Dist. v.
                                                             v. USDC-ORM, No. 22-
                                                                USDC-ORM, No. 22-

70143,
70143, Dkt. 1 (9th
       Dkt. 1 (9th Cir.
                   Cir. July 12, 2022);
                        July 12, 2022); In
                                        In re: Abd Al-Rahim
                                           re: Abd Al-Rahim Hussein
                                                            Hussein Muhammed
                                                                    Muhammed Al-
                                                                             Al-

Nashiri, No.
Nashiri, No. 21-01208,
             21-01208, Doc.
                       Doc. 1924665
                            1924665 at
                                    at 11 (D.C.
                                          (D.C. Cir.
                                                Cir. Nov.
                                                     Nov. 30,
                                                          30, 2021).
                                                              2021). And
                                                                     And courts
                                                                         courts

regularly grant
regularly grant petitioners
                petitioners permission
                            permission to
                                       to file
                                          file aa mandamus
                                                  mandamus reply
                                                           reply over the respondent's
                                                                 over the respondent’s

objection. See, e.g.,
objection. See,       In re:
                e.g., In     Jacobs Eng
                         re: Jacobs Eng’g
                                        g Grp., Inc., No.
                                          Grp., Inc., No. 19-5508,
                                                          19-5508, Dkt. 14-1 (6th
                                                                   Dkt. 14-1 (6th Cir.
                                                                                  Cir.

Aug. 13,
Aug. 13, 2019);
         2019); In
                In re Rebekah Gee,
                   re Rebekah      No. 19-30353,
                              Gee, No. 19-30353, Doc.
                                                 Doc. 00515051256 (5th Cir.
                                                      00515051256 (5th Cir. July
                                                                            July

26, 2019).
26, 2019).

      Federal Rule
      Federal      of Appellate
              Rule of Appellate Procedure 21 does
                                Procedure 21 does not
                                                  not expressly provide for
                                                      expressly provide     reply
                                                                        for reply

briefs in
briefs in support
          support of mandamus, but
                  of mandamus, but that
                                   that only
                                        only reflects
                                             reflects the
                                                      the discretionary
                                                          discretionary character of
                                                                        character of

mandamus, not
mandamus, not aa judgment
                 judgment that
                          that replies
                               replies are
                                       are prohibited.
                                           prohibited. The
                                                       The Rules
                                                           Rules also provide for
                                                                 also provide for aa

petition and
petition and aa response—but
                response—but do
                             do not
                                not reference
                                    reference aa reply—in support of
                                                 reply—in support of petitions
                                                                     petitions for
                                                                               for

panel rehearing,
panel rehearing, see
                 see Fed.
                     Fed. R. App. P.
                          R. App.    40; rehearing
                                  P. 40; rehearing en banc, see
                                                   en banc, see Fed.
                                                                Fed. R.
                                                                     R. App.
                                                                        App. P. 35;
                                                                             P. 35;

and permissive
and permissive appeals, see Fed.
               appeals, see Fed. R. App. P.
                                 R. App. P. 5(b). Yet this
                                            5(b). Yet this Court has aa practice
                                                           Court has    practice of
                                                                                 of

permitting such
permitting such replies
                replies in
                        in appropriate
                           appropriate circumstances. See, e.g.,
                                       circumstances. See, e.g., Goldman Sachs Grp.
                                                                 Goldman Sachs Grp.

v.
v. Chen-Oster, No. 17-2020,
   Chen-Oster, No. 17-2020, Dkt.
                            Dkt. 25
                                 25 (2d
                                    (2d Cir.
                                        Cir. Aug.
                                             Aug. 29,
                                                  29, 2017);
                                                      2017); Harrison
                                                             Harrison v. Sudan,
                                                                      v. Sudan,

No. 14-121,
No. 14-121, Dkt.
            Dkt. 110
                 110 (2d
                     (2d Cir.
                         Cir. Dec.
                              Dec. 22,
                                   22, 2015).
                                       2015).




                                          2
                                          2
      2. A
      2. A reply
           reply is
                 is particularly
                    particularly appropriate here for
                                 appropriate here     two additional
                                                  for two additional reasons.
                                                                     reasons. First,
                                                                              First,

the State
the       Plaintiffs make
    State Plaintiffs make arguments
                          arguments in their answer
                                    in their answer to
                                                    to the
                                                       the writ
                                                           writ petition
                                                                petition that
                                                                         that do
                                                                              do not
                                                                                 not

appear in
appear    the JPML
       in the      decision from
              JPML decision      which Google
                            from which        seeks relief.
                                       Google seeks relief. For
                                                            For example, the State
                                                                example, the State

Plaintiffs’ lead argument
Plaintiffs' lead argument in their answer
                          in their answer is
                                          is one that the
                                             one that the JPML did not
                                                          JPML did not adopt.
                                                                       adopt. The
                                                                              The

JPML’s analysis at
JPML's analysis at Landgraf
                   Landgraf Step One took
                            Step One took up
                                          up only
                                             only one paragraph of
                                                  one paragraph    the decision
                                                                of the decision

and concluded
and           that "nothing
    concluded that “nothing [in
                            [in the
                                the Venue
                                    Venue Act]
                                          Act] sets
                                               sets forth the amendment’s
                                                    forth the             temporal
                                                              amendment's temporal

reach,” Remand
reach,"        Order, In
        Remand Order, In re
                         re Google Dig. Advert.
                            Google Dig. Advert. Antitrust
                                                Antitrust Litig.,
                                                          Litig., No.
                                                                  No. 3010
                                                                      3010

(J.P.M.L. June
(J.P.M.L. June 5, 2023), ECF
               5, 2023),     No. 250
                         ECF No. 250 at
                                     at 2-3.
                                        2-3. By
                                             By contrast, the State
                                                contrast, the State Plaintiffs devote
                                                                    Plaintiffs devote

five pages to
five pages to briefing
              briefing their
                       their argument under Landgraf
                             argument under Landgraf Step
                                                     Step One that Congress's
                                                          One that Congress’s use
                                                                              use

of the word
of the word "is"
            “is” in
                 in 28
                    28 U.S.C.
                       U.S.C. §
                              § 1407(g)
                                1407(g) indicates
                                        indicates that
                                                  that the
                                                       the Venue
                                                           Venue Act
                                                                 Act must
                                                                     must be
                                                                          be

interpreted to
interpreted to apply
               apply retroactively.
                     retroactively. See
                                    See State
                                        State Plaintiffs’ Answer 11-14.
                                              Plaintiffs' Answer 11-14. Google
                                                                        Google

should have
should have an
            an opportunity to respond
               opportunity to respond to
                                      to that
                                         that argument given that
                                              argument given that it departs from
                                                                  it departs from

the reasoning
the           the JPML
    reasoning the JPML adopted below.
                       adopted below.

      Second, the State
      Second, the State Plaintiffs make misstatements
                        Plaintiffs make misstatements of
                                                      of fact
                                                         fact and law. Google
                                                              and law. Google

should be
should be permitted
          permitted to
                    to address those misstatements
                       address those misstatements as this Court
                                                   as this Court considers whether
                                                                 considers whether

mandamus is
mandamus is warranted.
            warranted. For
                       For example, the State
                           example, the State Plaintiffs misstate the
                                              Plaintiffs misstate the facts
                                                                      facts of two
                                                                            of two

pre-Landgraf cases
pre-Landgraf       relied on
             cases relied    by the
                          on by the JPML.
                                    JPML. Contrary to their
                                          Contrary to their assertion,
                                                            assertion, neither
                                                                       neither Ex
                                                                               Ex

parte Collett,
parte          337 U.S.
      Collett, 337 U.S. 55 (1949), nor
                        55 (1949), nor United States v.
                                       United States    National City
                                                     v. National      Lines, Inc.,
                                                                 City Lines, Inc., 337
                                                                                   337

U.S. 78
U.S.    (1949), involved
     78 (1949), involved "und[oing]"
                         “und[oing]” aa district
                                        district court’s decision. State
                                                 court's decision. State Plaintiffs’
                                                                         Plaintiffs'

Answer 23.
Answer 23. Because
           Because the
                   the transfers
                       transfers there
                                 there did
                                       did not
                                           not undo
                                               undo any relevant action
                                                    any relevant action in
                                                                        in either
                                                                           either



                                          3
                                          3
case, permitting transfer
case, permitting transfer was
                          was not
                              not aa retroactive
                                     retroactive application of the
                                                 application of the statute.
                                                                    statute. By
                                                                             By contrast
                                                                                contrast

here, the
here, the JPML’s ruling does
          JPML's ruling does unwind
                             unwind an
                                    an already
                                       already completed transfer. And
                                               completed transfer. And Google
                                                                       Google

did not
did not "forfeit"
        “forfeit” its
                  its retroactivity
                      retroactivity argument
                                    argument by
                                             by failing to anticipate
                                                failing to anticipate the
                                                                      the JPML’s
                                                                          JPML's

reliance on
reliance on Collett and National
            Collett and National City Lines. Contra
                                 City Lines. Contra State Plaintiffs’ Answer
                                                    State Plaintiffs' Answer 22.
                                                                             22.

Google’s argument in
Google's argument in this
                     this Court is the
                          Court is the same
                                       same as
                                            as it
                                               it was
                                                  was below.
                                                      below. See
                                                             See Opp. to Mot.
                                                                 Opp. to Mot. to
                                                                              to

Transfer, In
Transfer, In re
             re Google Dig. Advert.
                Google Dig. Advert. Antitrust
                                    Antitrust Litig.,
                                              Litig., No.
                                                      No. 3010
                                                          3010 (J.P.M.L.
                                                               (J.P.M.L. Mar.
                                                                         Mar. 22,
                                                                              22,

2023), ECF
2023),     No. 238
       ECF No. 238 at 14. A
                   at 14. A party
                            party forfeits
                                  forfeits an “issue” by
                                           an "issue" by failing to raise
                                                         failing to       it in
                                                                    raise it in trial
                                                                                trial

court. See T.M.
court. See T.M. ex
                ex rel. A.M. v.
                   rel. A.M. v. Cornwall
                                Cornwall Cent. Sch. Dist.,
                                         Cent. Sch. Dist., 752 F.3d 145,
                                                           752 F.3d 145, 170 (2d Cir.
                                                                         170 (2d Cir.

2014); In
2014); In re
          re Cooper
             Cooper Tire & Rubber
                    Tire & Rubber Co., 568 F.3d
                                  Co., 568 F.3d 1180,
                                                1180, 1196
                                                      1196 (10th
                                                           (10th Cir. 2009). But
                                                                 Cir. 2009). But

aa party
   party on appeal may
         on appeal may always
                       always discuss
                              discuss additional
                                      additional cases
                                                 cases and “make any
                                                       and "make any argument
                                                                     argument in
                                                                              in

support” of
support" of an
            an issue
               issue it
                     it has
                        has properly
                            properly preserved.
                                     preserved. Yee
                                                Yee v.
                                                    v. City of Escondido,
                                                       City of Escondido, 503 U.S.
                                                                          503 U.S.

519,
519, 534 (1992).
     534 (1992).

      3. Should
      3.        the Court
         Should the Court grant
                          grant Google leave to
                                Google leave to file
                                                file aa reply
                                                        reply brief,
                                                              brief, Google would be
                                                                     Google would be

prepared to
prepared to file
            file aa reply
                    reply by
                          by July 24, 2023,
                             July 24, 2023, or any other
                                            or any       date the
                                                   other date the Court selects.
                                                                  Court selects.

                                   CONCLUSION
                                   CONCLUSION

      For the
      For the foregoing reasons, this
              foregoing reasons, this Court
                                      Court should
                                            should grant
                                                   grant Google leave to
                                                         Google leave to file
                                                                         file aa reply
                                                                                 reply

in support
in support of
           of its
              its petition
                  petition for
                           for aa writ
                                  writ of mandamus.
                                       of mandamus.




                                           4
                                           4
July 18, 2023
July 18, 2023   Respectfully submitted,
                Respectfully submitted,

                /s/ Neal Kumar
                /s/ Neal Kumar Katyal
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                Neal  Kumar Katyal
                              Katyal
                Jessica
                Jessica L.
                        L. Ellsworth
                            Ellsworth
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                Counsel for Petitioner
                Counselfor  Petitioner Google LLC
                                       Google LLC




                  55
                      CERTIFICATE
                      CERTIFICATE OF
                                  OF COMPLIANCE
                                     COMPLIANCE

      1.
      1.    This document
            This document complies with the
                          complies with the type-volume
                                            type-volume limits
                                                        limits of Fed. R.
                                                               of Fed.    App. P.
                                                                       R. App. P.

27(d)(2) because,
27(d)(2) because, excluding the parts
                  excluding the parts of the document
                                      of the document exempted by Fed.
                                                      exempted by Fed. R. App. P.
                                                                       R. App. P.

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32(f), this document
            document contains
                     contains 963 words.
                              963 words.

      2.
      2.    This document
            This document complies with the
                          complies with the typeface
                                            typeface requirements
                                                     requirements of Fed. R.
                                                                  of Fed.    App.
                                                                          R. App.

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P. 32(a)(5)     the type-style
            and the type-style requirements
                               requirements of Fed. R.
                                            of Fed.    App. P.
                                                    R. App.    32(a)(6) because
                                                            P. 32(a)(6) because this
                                                                                this

document has
document has been
             been prepared
                  prepared in
                           in aa proportionally
                                 proportionally spaced
                                                spaced typeface
                                                       typeface using
                                                                using Microsoft
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Word 2010
Word 2010 in
          in 14-point
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                                             /s/ Neal Kumar
                                             /s/ Neal Kumar Katyal
                                                            Katyal
                                             Neal Kumar
                                             Neal  Kumar Katyal
                                                         Katyal
                            CERTIFICATE OF
                            CERTIFICATE OF SERVICE
                                           SERVICE

         II certify that on
            certify that on July 18, 2023,
                            July 18, 2023, the
                                           the foregoing was electronically
                                               foregoing was electronically filed through
                                                                            filed through

this Court's
this Court’s CM/ECF system, which
             CM/ECF system, which will
                                  will send
                                       send aa notice
                                               notice of
                                                      of filing to all
                                                         filing to all registered
                                                                       registered

users.
users.

                                          /s/ Neal Kumar
                                          /s/ Neal Kumar Katyal
                                                         Katyal
                                          Neal Kumar
                                          Neal  Kumar Katyal
                                                      Katyal
